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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

UNITED STATES                                                                           PLAINTIFF

       V.                             NO. 2:14CR20031-002

AVIS VIRAVONGSA                                                                       DEFENDANT


             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3), Local Rule 72.1 ¶ XII, and

General Order No. 40, this matter was referred to the undersigned for the purposes of conducting

a plea hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Such a hearing

was conducted on December 16, 2014, and, pursuant to a written plea agreement, the Defendant

entered a plea of guilty to Counts One and Two of the Indictment. Pursuant to the plea

agreement, the Government will move to dismiss Counts Five, Six, and Seven of the Indictment

once the court has pronounced sentence.

       The plea agreement states, inter alia, that the Defendant agrees to forfeit certain assets to

the Government and consents to the entry of an order of forfeiture for such assets.

       After conducting the hearing in the form and manner prescribed by Rule 11, the

undersigned finds:

       1.      The Defendant, after consultation with his counsel, has knowingly and voluntarily

consented, both in writing and on the record at the hearing, to the entry of his guilty plea before

the undersigned, with the plea being subject to final approval by Chief United States District

Judge P. K. Holmes, III .
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        2.      The Defendant and the Government have entered into a written plea agreement

which has been disclosed in open court pursuant to Rule 11(c)(2), and the undersigned has

directed that the plea agreement be filed.

        3.      The Defendant is fully competent and capable of entering an informed plea; the

Defendant is aware of the nature of the charges, the applicable maximum penalties, and the

consequences of the plea; the Defendant is fully satisfied with his counsel and has had sufficient

time to consult with him; and the plea of guilty is a knowing and voluntary plea supported by an

independent basis in fact containing each of the essential elements of the offense.

        4.      The Defendant understands his constitutional and statutory rights and wishes to

waive these rights.

        5.      The parties were informed, both in writing and on the record at the hearing, of

their right to file written objections within fourteen (14) days after receipt of this Report and

Recommendation. To expedite acceptance of the guilty plea, the parties waived, both on the

record and in writing, their right to file objections.

        Based on the foregoing, the undersigned recommends that the guilty plea be accepted and

that the written plea agreement be tentatively approved, subject to final approval at sentencing.

        DATED this 16th day of December 2014.




                                                /s/ J. Marschewski
                                                Honorable James R. Marschewski
                                                Chief United States Magistrate Judge
